

Gibbs v State Farm Fire &amp; Cas. Co. (2019 NY Slip Op 06920)





Gibbs v State Farm Fire &amp; Cas. Co.


2019 NY Slip Op 06920


Decided on September 27, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 27, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, CARNI, TROUTMAN, AND WINSLOW, JJ.


828 CA 18-02160

[*1]PAULA L. GIBBS, PLAINTIFF-APPELLANT,
vSTATE FARM FIRE AND CASUALTY COMPANY, DEFENDANT-RESPONDENT. (APPEAL NO. 3.) 






PAULA L. GIBBS, PLAINTIFF-APPELLANT PRO SE. 
MURA &amp; STORM, PLLC, BUFFALO (ROY A. MURA OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (John F. O'Donnell, J.), dated October 23, 2018. The order denied the motion of plaintiff to vacate the order dismissing the action. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Gibbs v State Farm Fire and Cas. Co. ([appeal No. 1] — AD3d — [Sept. 27, 2019] [4th Dept 2019]).
Entered: September 27, 2019
Mark W. Bennett
Clerk of the Court








